 Case 1:23-cr-00061-MN Document 91 Filed 03/07/24 Page 1 of 1 PageID #: 1918




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,                 )
                                          )
         v.                               )      Criminal Action No. 23-61-MN
                                          )
ROBERT HUNTER BIDEN,                      )
                                          )
                   Defendant.             )


                  NOTICE OF WITHDRAWAL OF COUNSEL

    Please withdraw the appearance of Benjamin L. Wallace, Assistant United

States Attorney for the District of Delaware, as one of the attorneys of record on

behalf of the United States of America.


                                                 Respectfully submitted,


                                                 DAVID C. WEISS
                                                 United States Attorney


                                              By: _______________________________
                                                  BENJAMIN L. WALLACE
                                                  Assistant United States Attorney


Dated:   March 7, 2024
